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                  EXECUTIVE OFFICE OF THE PRESIDENT
                      OFFICE OF MANAGEMENT AND BUDGET
                                WASHINGTON, D.C. 20503




                                    February 3, 2025

MEMORANDUM FOR HEADS OF EXECUTIVE DEPARTMENTS AND AGENCIES

FROM:          Matthew J. Vaeth, Acting Director, Office of Management and Budget

SUBJECT:       Temporary Restraining Order Against OMB Memorandum M-25-13


         This memorandum is notifying you about a temporary restraining order that was
entered earlier this evening in the case of National Council of Nonprofits et al. v. Office
of Management and Budget et al., No. 25-cv-239-LLA (D.D.C.), ECF No. 30 (Feb. 3,
2025). The case involves a challenge to OMB Memorandum M-25-13, Temporary Pause
of Agency Grant, Loan, and Other Financial Assistance Programs (Jan. 27, 2025).
Although that OMB Memorandum M-25-13 was rescinded on January 29, 2025, the
litigation is continuing, and the Court has issued a temporary restraining order directing
certain actions. A copy of the Court’s Order is attached.

       Under the terms of the Court’s Order, OMB is “enjoined from implementing,
giving effect to, or reinstating under a different name the directives in OMB
Memorandum M-25-13 with respect to the disbursement of Federal funds under all open
awards.”
       In addition, all agencies are hereby instructed:
           • Your agency “may not take any steps to implement, give effect to, or
                reinstate under a different name the directives in OMB Memorandum M-
                25-13 with respect to the disbursement of Federal Funds under all open
                awards.”

           •   Your agency must “release any disbursements on open awards that were
               paused due to OMB Memorandum M-25-13.”

        In the above instructions, “open awards” means all forms of Federal financial
assistance within the scope of OMB Memorandum M-25-13 “that have already been
approved and partially disbursed.” Thus, the instructions do not apply to issuance of new
awards, or to awards that have not yet been awarded to specific individuals or entities
(such as NOFOs).

        The above instructions do not restrict agencies’ compliance with the President’s
recently issued Executive Orders, nor do they restrict agencies’ ability to take actions
pursuant to their own authorities independent of OMB Memorandum M-25-13. Please
note, however, that the above instructions do not eliminate or supersede any
compliance obligations stemming from the separate temporary restraining order
issued by a federal court in Rhode Island. See New York et al. v. Trump et al., No. 25-
cv-39-JJM-PAS (D.R.I.), ECF No. 50 (Jan. 31, 2025).
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       To the extent you have questions about your obligations pursuant to this
Memorandum or any court order, please contact your agency General Counsel. Thank
you for your attention to this matter.

Attachment (copy of temporary restraining order)
